Case 2:20-cv-11548-JVS-AGR   Document 942-1   Filed 09/04/24   Page 1 of 57 Page
                                 ID #:47076




                   EXHIBIT 1
         Case 2:20-cv-11548-JVS-AGR                               Document 942-1                   Filed 09/04/24              Page 2 of 57 Page
                                                                      ID #:47077

       Generated on: This page was generated by TSDR on 2024-08-31 17:55:42 EDT
                 Mark: L.O.L. SURPRISE!




  US Serial Number: 87461324                                                        Application Filing May 23, 2017
                                                                                                Date:
     US Registration 5374188                                                       Registration Date: Jan. 09, 2018
           Number:
             Register: Principal
           Mark Type: Trademark
     TM5 Common Status                                                           DEAD/REGISTRATION/Cancelled/Invalidated
            Descriptor:
                                                                                 The trademark application was registered, but subsequently it was cancelled
                                                                                 or invalidated and removed from the registry.


               Status: Registration cancelled because registrant did not file an acceptable declaration under Section 8. To view all documents in this file, click
                       on the Trademark Document Retrieval link at the top of this page.
         Status Date: Jul. 22, 2024
Publication Date:Oct. 24, 2017
Date Cancelled:Jul. 22, 2024

                                                                   Mark Information
          Mark Literal L.O.L. SURPRISE!
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Toys and playthings, namely, toy figures and playsets, accessories, and clothing therefor
         International 028 - Primary Class                                              U.S Class(es): 022, 023, 038, 050
            Class(es):
        Class Status: SECTION 8 - CANCELLED
                Basis: 1(a)
            First Use: Sep. 09, 2016                                               Use in Commerce: Oct. 12, 2016

                                                       Basis Information (Case Level)
            Filed Use: Yes                                                             Currently Use: Yes
            Filed ITU: No                                                               Currently ITU: No
            Filed 44D: No                                                              Currently 44D: No
            Filed 44E: No                                                               Currently 44E: No
            Filed 66A: No                                                              Currently 66A: No
      Filed No Basis: No                                                          Currently No Basis: No

                                                       Current Owner(s) Information


                                                                               Ex. 1-1
           Case 2:20-cv-11548-JVS-AGR                 Document 942-1                 Filed 09/04/24      Page 3 of 57 Page
                                                          ID #:47078
          Owner Name: MGA Entertainment, Inc.
     Owner Address: 9220 Winnetka Ave.
                    Chatsworth, CALIFORNIA UNITED STATES 91311
   Legal Entity Type: CORPORATION                                      State or Country CALIFORNIA
                                                                      Where Organized:

                                          Attorney/Correspondence Information
                                                                Attorney of Record
     Docket Number: TMR201700048
                                                                 Correspondent
      Correspondent MGA Entertainment, Inc.
      Name/Address: 9220 Winnetka Ave.
                    Chatsworth, CALIFORNIA UNITED STATES 91311
                Phone: 8188942525
   Correspondent e- TM@mgae.com erisha@mgae.com asenasac@m            Correspondent e- Yes
              mail: gae.com                                            mail Authorized:
                                                      Domestic Representative - Not Found

                                                      Prosecution History
                                                                                                                       Proceeding
   Date              Description
                                                                                                                       Number
Jul. 22, 2024      CANCELLED SEC. 8 (6-YR)
Jan. 09, 2023      COURTESY REMINDER - SEC. 8 (6-YR) E-MAILED
Apr. 07, 2021      NOTICE OF SUIT
Nov. 03, 2020      NOTICE OF SUIT
Nov. 03, 2020      NOTICE OF SUIT
Jun. 22, 2020      NOTICE OF SUIT
Jun. 19, 2020      NOTICE OF SUIT
Mar. 26, 2020      NOTICE OF SUIT
Mar. 12, 2020      APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED
Mar. 12, 2020      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Mar. 12, 2020      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Mar. 12, 2020      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Mar. 12, 2020      TEAS CHANGE OF OWNER ADDRESS RECEIVED
Jan. 09, 2018      REGISTERED-PRINCIPAL REGISTER
Oct. 24, 2017      PUBLISHED FOR OPPOSITION
Oct. 04, 2017      NOTICE OF PUBLICATION
Aug. 30, 2017      APPROVED FOR PUB - PRINCIPAL REGISTER
Aug. 29, 2017      EXAMINER'S AMENDMENT MAILED
Aug. 29, 2017      EXAMINER'S AMENDMENT ENTERED
Aug. 29, 2017      EXAMINERS AMENDMENT -WRITTEN
Aug. 22, 2017      ASSIGNED TO EXAMINER
May 31, 2017       NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
May 26, 2017       NEW APPLICATION ENTERED

                                             TM Staff and Location Information
                                                           TM Staff Information - None
                                                                  File Location
   Current Location: PUBLICATION AND ISSUE SECTION                     Date in Location: Jan. 09, 2018

                                                            Proceedings
   Summary
            Number of 1
          Proceedings:




                                                                  Ex. 1-2
           Case 2:20-cv-11548-JVS-AGR                      Document 942-1               Filed 09/04/24             Page 4 of 57 Page
                                                               ID #:47079

                                                  Type of Proceeding: Opposition

            Proceeding 91268267                                                  Filing Date: Mar 19, 2021
              Number:
               Status: Terminated                                               Status Date: Jun 21, 2021
           Interlocutory WENDY COHEN
               Attorney:
                                                                      Defendant
                Name: Lin Wulin
      Correspondent REINE ROONEY
           Address: 33 WEICHERS ST.
                    RONKONKOMA NY UNITED STATES , 11779
    Correspondent e- reine.glanz@gmail.com , championtek88@gmail.com
               mail:
Associated marks
                                                                                                                                 Registration
    Mark                                                                              Application Status       Serial Number
                                                                                                                                 Number
LOLHOUSE                                                                                                     90171055
                                                                      Plaintiff(s)
                Name: MGA Entertainment, Inc.
      Correspondent JENNIFER SHEEHAN ANDERSON
           Address: BRIDGE INTELLECTUAL PROPERTY SERVICES PLLC
                    23716 WOODWARD AVE
                    PLEASANT RIDGE MI UNITED STATES , 48069
    Correspondent e- info@bridgeip.net , janderson@bridgeip.net
               mail:
Associated marks
                                                                                                                                 Registration
    Mark                                                                              Application Status       Serial Number
                                                                                                                                 Number
L.O.L. SURPRISE!                                                                                             87461324          5374188
L.O.L. SURPRISE!                                                                                             87461400          5374191
                                                                  Prosecution History
    Entry Number           History Text                                                                        Date              Due Date
6                       TERMINATED                                                                           Jun 21, 2021
5                       BD DECISION: OPP SUSTAINED                                                           Jun 21, 2021
4                       NOTICE OF DEFAULT                                                                    May 09, 2021
3                       INSTITUTED                                                                           Mar 19, 2021
2                       NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                             Mar 19, 2021      Apr 28, 2021
1                       FILED AND FEE                                                                        Mar 19, 2021




                                                                     Ex. 1-3
           Case 2:20-cv-11548-JVS-AGR                                Document 942-1                    Filed 09/04/24               Page 5 of 57 Page
                                                                         ID #:47080

From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Monday, January 9, 2023 01:49 AM
To:                        XXXX
Cc:                        XXXX; XXXX
Subject:                   Official USPTO Courtesy Reminder: Trademark Registration Maintenance Document Must Be Fil ed Before Deadline for U.S. Trademark Registration
                           No. 5374188 L.O.L. SURPRISE!
USPTO COURTESY REMINDER

TRADEMARK REGISTRATION MAINTENANCE DOCUMENT UNDER SECTION 8 MUST BE FILED BEFORE DEADLINE OR
REGISTRATION WILL BE CANCELLED

U.S. Application Serial No. 87461324
U.S. Registration No. 5374188
U.S. Registration Date: January 9, 2018
Mark: L.O.L. SURPRISE!
Owner: MGA Entertainment, Inc.
Docket/Reference No. TMR201700048

Issue Date: January 9, 2023

Required submission. The owner of the trademark registration must file a Declaration of Use and/or Excusable Nonuse Under Section 8 (Section 8 Declaration) between
now and January 9, 2024. For an additional fee, the owner can file within the 6-month grace period that ends on July 9, 2024.

Optional submission. If the owner can claim the benefits of incontestability, the owner may file an optional Declaration of Incontestability under Section 15. This may be
combined with the required Section 8 Declaration by filing a Combined Declaration of Use and Incontestability Under Sections 8 and 15 (Combined Sections 8 and 15
Declaration).

If ownership of the registration or the owner's name has changed, the owner can use the Electronic Trademark Assignment System (ETAS) to record the
change. More information on changes of ownership/owner name is available on the USPTO website.

Click here for more information about maintaining a trademark registration.

Proof of Use Audit. The USPTO is conducting an audit program to promote the accuracy and integrity of the trademark register. If a registration is selected for audit, the
holder/owner will be required to submit proof of use for additional goods/services for which use is claimed in a Section 8 Declaration. Detailed information about the program is
available on the Proof of Use Audit Program webpage.

Determination of time of receipt by USPTO. Correspondence transmitted through the Trademark Electronic Application System (TEAS) is considered filed on the date the
USPTO receives the transmission in Eastern Time.

If the owner fails to file a timely Section 8 Declaration the registration will be CANCELLED and cannot be reinstated.

This reminder notice is being sent only as a courtesy to trademark owners who maintain a current email address with the USPTO. Failure by the USPTO to send a
reminder or non-receipt of a reminder does not excuse a trademark owner from meeting the statutory obligations for maintaining a registration.

Foreign-domiciled owners must have a U.S.-licensed attorney represent them at the USPTO in any post-registration filing.

Beware of misleading notices sent by private companies about registrations. Private companies not associated with the USPTO use public information available in
trademark registrations to mail and email trademark-related offers and notices - most of which require fees. All official USPTO correspondence will only be emailed from the
domain "@uspto.gov."

Direct questions about this notice to the Trademark Assistance Center at 1-800-786-9199 (select option 1) or TrademarkAssistanceCenter@uspto.gov.




                                                                                  Ex. 1-4
Case 2:20-cv-11548-JVS-AGR   Document 942-1   Filed 09/04/24   Page 6 of 57 Page
                                 ID #:47081




                                   Ex. 1-5
Case 2:20-cv-11548-JVS-AGR   Document 942-1   Filed 09/04/24   Page 7 of 57 Page
                                 ID #:47082




                                   Ex. 1-6
Case 2:20-cv-11548-JVS-AGR   Document 942-1   Filed 09/04/24   Page 8 of 57 Page
                                 ID #:47083




                                   Ex. 1-7
Case 2:20-cv-11548-JVS-AGR   Document 942-1   Filed 09/04/24   Page 9 of 57 Page
                                 ID #:47084




                                   Ex. 1-8
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 10 of 57 Page
                                  ID #:47085




                                    Ex. 1-9
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 11 of 57 Page
                                  ID #:47086




                                   Ex. 1-10
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 12 of 57 Page
                                  ID #:47087




                                   Ex. 1-11
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 13 of 57 Page
                                  ID #:47088




                                   Ex. 1-12
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 14 of 57 Page
                                  ID #:47089




                                   Ex. 1-13
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 15 of 57 Page
                                  ID #:47090




                                   Ex. 1-14
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 16 of 57 Page
                                  ID #:47091




                                   Ex. 1-15
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 17 of 57 Page
                                  ID #:47092




                                   Ex. 1-16
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 18 of 57 Page
                                  ID #:47093




                                   Ex. 1-17
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 19 of 57 Page
                                  ID #:47094




                                   Ex. 1-18
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 20 of 57 Page
                                  ID #:47095




                                   Ex. 1-19
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 21 of 57 Page
                                  ID #:47096




                                   Ex. 1-20
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 22 of 57 Page
                                  ID #:47097




                                   Ex. 1-21
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 23 of 57 Page
                                  ID #:47098




                                   Ex. 1-22
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 24 of 57 Page
                                  ID #:47099




                                   Ex. 1-23
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 25 of 57 Page
                                  ID #:47100




                                   Ex. 1-24
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 26 of 57 Page
                                  ID #:47101




                                   Ex. 1-25
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 27 of 57 Page
                                  ID #:47102




                                   Ex. 1-26
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 28 of 57 Page
                                  ID #:47103




                                   Ex. 1-27
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 29 of 57 Page
                                  ID #:47104




                                   Ex. 1-28
            Case 2:20-cv-11548-JVS-AGR                            Document 942-1 Filed 09/04/24                                  Page 30 of 57 Page
                                                                       ID #:47105

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PTO Form 2300 (Rev 02/2020)
OMB No. 0651-0051 (Exp 11/30/2020)


                                                   Change Address or Representation Form


                                                     The table below presents the data as entered.

                                     Input Field                                                                 Entered
             SERIAL NUMBER                                              87461324
             REGISTRATION NUMBER                                        5374188
             LAW OFFICE ASSIGNED                                        LAW OFFICE 121
             MARK SECTION
                                                                        L.O.L. SURPRISE! (standard characters, see https://tmng-al.uspto.gov
             MARK
                                                                        /resting2/api/img/8746132 4/large)
             OWNER SECTION(current)
             NAME                                                       MGA Entertainment, Inc.
             MAILING ADDRESS                                            16380 Roscoe Boulevard
             CITY                                                       Van Nuys
             STATE                                                      California
             STATE/COUNTRY/REGION/JURISDICTION/U.S.
                                                                        United States
             TERRITORY

             ZIP/POSTAL CODE                                            91406
             PHONE                                                      818-894-2525
             FAX                                                        818-895-0771
             EMAIL                                                      XXXX
             CORRESPONDENCE SECTION(current)
             NAME                                                       ELIZABETH RISHA, ESQ.
             PRIMARY EMAIL ADDRESS FOR
                                                                        tm@mgae.com
             CORRESPONDENCE

             SECONDARY EMAIL ADDRESS(ES) (COURTESY
                                                                        NOT PROVIDED
             COPIES)

             DOCKET/REFERENCE NUMBER(S)                                 TMR201700048
             OWNER SECTION(proposed)
                                                                        By submission of this request, the undersigned requests that the following
             STATEMENT TEXT
                                                                        be made of record for the owner/holder:
             NAME                                                       MGA Entertainment, Inc.
             MAILING ADDRESS                                            9220 Winnetka Ave.
             CITY                                                       Chatsworth
             STATE                                                      California
             STATE/COUNTRY/REGION/JURISDICTION/U.S.
                                                                        United States
             TERRITORY

             ZIP/POSTAL CODE                                            91311


                                                                                Ex. 1-29
Case 2:20-cv-11548-JVS-AGR              Document 942-1 Filed 09/04/24                  Page 31 of 57 Page
                                             ID #:47106

PHONE                                      8188942525
EMAIL                                      XXXX
CORRESPONDENCE SECTION (proposed)
NAME                                       MGA Entertainment, Inc.
PRIMARY EMAIL ADDRESS FOR
                                           TM@mgae.com
CORRESPONDENCE

SECONDARY EMAIL ADDRESS(ES) (COURTESY
                                           erisha@mgae.com; asenasac@mgae.com
COPIES)

DOCKET/REFERENCE NUMBER(S)                 TMR201700048
SIGNATURE SECTION
SIGNATURE                                  /Risha, Elizabeth 158960 General Counsel/
SIGNATORY NAME                             Elizabeth Risha
SIGNATORY DATE                             03/12/2020
SIGNATORY POSITION                         Attorney of record, California Bar member
SIGNATORY PHONE NUMBER                     8188942525
AUTHORIZED SIGNATORY                       YES
FILING INFORMATION SECTION
SUBMIT DATE                                Thu Mar 12 15:22:10 ET 2020
                                           USPTO/CAR-XX.XXX.XX.XX-20
                                           200312152210079865-761794
                                           78-71036d9b44c221d6ed5716
TEAS STAMP
                                           2967d2a8e507ef85ac476d233
                                           11faef2913e3d51b2-N/A-N/A
                                           -20200312145140936514




                                                 Ex. 1-30
            Case 2:20-cv-11548-JVS-AGR                            Document 942-1 Filed 09/04/24                                  Page 32 of 57 Page
                                                                       ID #:47107

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PTO Form 2300 (Rev 02/2020)
OMB No. 0651-0051 (Exp 11/30/2020)




                                               Change Address or Representation Form
To the Commissioner for Trademarks:

MARK: L.O.L. SURPRISE! (standard characters, see https://tmng-al.uspto.gov /resting2/api/img/8746132 4/large)
SERIAL NUMBER: 87461324
REGISTRATION NUMBER: 5374188


Owner Section (Current) :
MGA Entertainment, Inc.
16380 Roscoe Boulevard
Van Nuys, California 91406
United States
818-894-2525
XXXX


Correspondence Section (Current):
ELIZABETH RISHA, ESQ.
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE: tm@mgae.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED
Docket Reference Number(s): TMR201700048


By submission of this request, the undersigned requests that the following be made of record for the owner/holder:

Owner Section (proposed):
MGA Entertainment, Inc.
9220 Winnetka Ave.
Chatsworth, California 91311
United States
8188942525
XXXX

Correspondence Section (proposed):
MGA Entertainment, Inc.
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE: TM@mgae.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): erisha@mgae.com; asenasac@mgae.com
Docket Reference Number(s): TMR201700048




Signature: /Risha, Elizabeth 158960 General Counsel/ Date: 03/12/2020
Signatory's Name: Elizabeth Risha
Signatory's Position: Attorney of record, California Bar member
Signatory's Phone Number: 8188942525

Serial Number: 87461324
Internet Transmission Date: Thu Mar 12 15:22:10 ET 2020
TEAS Stamp: USPTO/CAR-XX.XXX.XX.XX-20200312152210079
865-76179478-71036d9b44c221d6ed57162967d
2a8e507ef85ac476d23311faef2913e3d51b2-N/
A-N/A-20200312145140936514




                                                                                Ex. 1-31
    Case 2:20-cv-11548-JVS-AGR       Document 942-1 Filed 09/04/24                     Page 33 of 57 Page
                                          ID #:47108




Reg. No. 5,374,188         MGA Entertainment, Inc. (CALIFORNIA CORPORATION)
                           16380 Roscoe Boulevard
Registered Jan. 09, 2018   Van Nuys, CALIFORNIA 91406

                           CLASS 28: Toys and playthings, namely, toy figures and playsets, accessories, and clothing
Int. Cl.: 28               therefor

Trademark                  FIRST USE 9-9-2016; IN COMMERCE 10-12-2016

Principal Register         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           SER. NO. 87-461,324, FILED 05-23-2017




                                                Ex. 1-32
Case 2:20-cv-11548-JVS-AGR                 Document 942-1             Filed 09/04/24         Page 34 of 57 Page
      REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
                                 ID #:47109
   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

 Requirements in the First Ten Years*
 What and When to File:

      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
      registration will continue in force for the remainder of the ten-year period, calculated from the registration
      date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

      Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


 Requirements in Successive Ten-Year Periods*
 What and When to File:

      You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*


 Grace Period Filings*

 The above documents will be accepted as timely if filed within six months after the deadlines listed above with
 the payment of an additional fee.

 *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
 extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
 (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
 The time periods for filing are based on the U.S. registration date (not the international registration date). The
 deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
 nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
 do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
 international registration at the International Bureau of the World Intellectual Property Organization, under
 Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
 date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
 international registration, see http://www.wipo.int/madrid/en/.

 NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
 USPTO website for further information. With the exception of renewal applications for registered
 extensions of protection, you can file the registration maintenance documents referenced above online at h
 ttp://www.uspto.gov.

 NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
 owners/holders who authorize e-mail communication and maintain a current e-mail address with the
 USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
 Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
 available at http://www.uspto.gov.




                                           Page: 2 of 2 / RN # 5374188

                                                      Ex. 1-33
           Case 2:20-cv-11548-JVS-AGR                     Document 942-1 Filed 09/04/24                           Page 35 of 57 Page
                                                               ID #:47110


Side - 1




                                               NOTICE OF PUBLICATION UNDER §12(a)
                                               MAILING DATE: Oct 4, 2017
                                               PUBLICATION DATE: Oct 24, 2017



The mark identified below will be published in the Official Gazette on Oct 24, 2017. Any party who believes they will be damaged by registration of
the mark may oppose its registration by filing an opposition to registration or a request to extend the time to oppose within thirty (30) days from the
publication date on this notice. If no opposition is filed within the time specified by law, the USPTO may issue a Certificate of Registration.

To view the Official Gazette online or to order a paper copy, visit the USPTO website at http://www.uspto.gov/web/trademarks/tmog/ any time within
the five-week period after the date of publication. You may also order a printed version from the U.S. Government Printing Office (GPO) at
http://bookstore.gpo.gov or 202-512-1800. To check the status of your application, go to http://tarr.uspto.gov/.

SERIAL NUMBER:                 87461324
MARK:                          L.O.L. SURPRISE!(STANDARD CHARACTER MARK)
OWNER:                         MGA Entertainment, Inc.



Side - 2
UNITED STATES PATENT AND TRADEMARK OFFICE
COMMISSIONER FOR TRADEMARKS
                                                                                                                               FIRST-CLASS MAIL
P.O. BOX 1451                                                                                                                    U.S POSTAGE
ALEXANDRIA, VA 22313-1451                                                                                                            PAID



                                                      ELIZABETH RISHA, ESQ.
                                                      MGA ENTERTAINMENT, INC.
                                                      16380 ROSCOE BOULEVARD
                                                      VAN NUYS, CA 91406




                                                                      Ex. 1-34
        Case 2:20-cv-11548-JVS-AGR                         Document 942-1 Filed 09/04/24                        Page 36 of 57 Page
                                                                ID #:47111

                                                 Trademark Snap Shot Publication Stylesheet
                                                    (Table presents the data on Publication Approval)


                                                                   OVERVIEW

SERIAL NUMBER                                     87461324                   FILING DATE                                  05/23/2017

REG NUMBER                                         0000000                   REG DATE                                        N/A

REGISTER                                         PRINCIPAL                   MARK TYPE                                   TRADEMARK

INTL REG #                                               N/A                 INTL REG DATE                                   N/A

TM ATTORNEY                               CALLERY, TIMOTHY JOHN              L.O. ASSIGNED                              N30-NOT FOUND



                                                               PUB INFORMATION

RUN DATE                            08/31/2017

PUB DATE                            N/A

STATUS                              680-APPROVED FOR PUBLICATION

STATUS DATE                         08/30/2017

LITERAL MARK ELEMENT                L.O.L. SURPRISE!



DATE ABANDONED                                           N/A                 DATE CANCELLED                                  N/A

SECTION 2F                                               NO                  SECTION 2F IN PART                              NO

SECTION 8                                                NO                  SECTION 8 IN PART                               NO

SECTION 15                                               NO                  REPUB 12C                                       N/A

RENEWAL FILED                                            NO                  RENEWAL DATE                                    N/A

DATE AMEND REG                                           N/A



                                                                  FILING BASIS

                 FILED BASIS                                       CURRENT BASIS                                   AMENDED BASIS

1 (a)                          YES               1 (a)                                  YES             1 (a)                      NO

1 (b)                          NO                1 (b)                                   NO             1 (b)                      NO

44D                            NO                44D                                     NO             44D                        NO

44E                            NO                44E                                     NO             44E                        NO

66A                            NO                66A                                     NO

NO BASIS                       NO                NO BASIS                                NO



                                                                   MARK DATA

STANDARD CHARACTER MARK                                                      YES

LITERAL MARK ELEMENT                                                         L.O.L. SURPRISE!

MARK DRAWING CODE                                                            4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                           NO



                                                    CURRENT OWNER INFORMATION

PARTY TYPE                                                                   10-ORIGINAL APPLICANT



                                                                     Ex. 1-35
         Case 2:20-cv-11548-JVS-AGR             Document 942-1 Filed 09/04/24                            Page 37 of 57 Page
                                                     ID #:47112
NAME                                                            MGA Entertainment, Inc.

ADDRESS                                                         16380 Roscoe Boulevard
                                                                Van Nuys, CA 91406

ENTITY                                                          03-CORPORATION

CITIZENSHIP                                                     California



                                                 GOODS AND SERVICES

INTERNATIONAL CLASS                                             028

       DESCRIPTION TEXT                                         Toys and playthings, namely, toy figures and playsets, accessories, and clothing
                                                                therefor




                                      GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     028        FIRST USE DATE   09/09/2016        FIRST USE IN         10/12/2016            CLASS STATUS          6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE



                                   MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                          NO

PSEUDO MARK                                                     LIL OUTRAGEOUS LITTLES SURPRISE!



                                                PROSECUTION HISTORY

DATE                      ENT CD     ENT TYPE     DESCRIPTION                                                                          ENT NUM

08/30/2017                CNSA          O         APPROVED FOR PUB - PRINCIPAL REGISTER                                                    007

08/29/2017                CNEA          F         EXAMINER'S AMENDMENT MAILED                                                              006

08/29/2017                XAEC           I        EXAMINER'S AMENDMENT ENTERED                                                             005

08/29/2017                CNEA          R         EXAMINERS AMENDMENT -WRITTEN                                                             004

08/22/2017                DOCK          D         ASSIGNED TO EXAMINER                                                                     003

05/31/2017                NWOS           I        NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                     002

05/26/2017                NWAP           I        NEW APPLICATION ENTERED IN TRAM                                                          001



                                   CURRENT CORRESPONDENCE INFORMATION

ATTORNEY                                                        NONE

CORRESPONDENCE ADDRESS                                          ELIZABETH RISHA, ESQ.
                                                                MGA ENTERTAINMENT, INC.
                                                                16380 ROSCOE BOULEVARD
                                                                VAN NUYS, CA 91406

DOMESTIC REPRESENTATIVE                                         NONE




                                                           Ex. 1-36
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 38 of 57 Page
                                  ID #:47113




                                   Ex. 1-37
        Case 2:20-cv-11548-JVS-AGR                         Document 942-1 Filed 09/04/24                       Page 39 of 57 Page
                                                                ID #:47114

                                    Trademark Snap Shot Amendment & Mail Processing Stylesheet
                                          (Table presents the data on Amendment & Mail Processing Complete)


                                                                  OVERVIEW

SERIAL NUMBER                                     87461324                 FILING DATE                                   05/23/2017

REG NUMBER                                         0000000                 REG DATE                                         N/A

REGISTER                                         PRINCIPAL                 MARK TYPE                                    TRADEMARK

INTL REG #                                               N/A               INTL REG DATE                                    N/A

TM ATTORNEY                               CALLERY, TIMOTHY JOHN            L.O. ASSIGNED                               N30-NOT FOUND



                                                               PUB INFORMATION

RUN DATE                            08/30/2017

PUB DATE                            N/A

STATUS                              647-EXAMINERS AMENDMENT - MAILED

STATUS DATE                         08/29/2017

LITERAL MARK ELEMENT                L.O.L. SURPRISE!



DATE ABANDONED                                           N/A               DATE CANCELLED                                   N/A

SECTION 2F                                               NO                SECTION 2F IN PART                               NO

SECTION 8                                                NO                SECTION 8 IN PART                                NO

SECTION 15                                               NO                REPUB 12C                                        N/A

RENEWAL FILED                                            NO                RENEWAL DATE                                     N/A

DATE AMEND REG                                           N/A



                                                                 FILING BASIS

                 FILED BASIS                                      CURRENT BASIS                                   AMENDED BASIS

1 (a)                          YES               1 (a)                                YES              1 (a)                      NO

1 (b)                          NO                1 (b)                                NO               1 (b)                      NO

44D                            NO                44D                                  NO               44D                        NO

44E                            NO                44E                                  NO               44E                        NO

66A                            NO                66A                                  NO

NO BASIS                       NO                NO BASIS                             NO



                                                                 MARK DATA

STANDARD CHARACTER MARK                                                    YES

LITERAL MARK ELEMENT                                                       L.O.L. SURPRISE!

MARK DRAWING CODE                                                          4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                         NO



                                                    CURRENT OWNER INFORMATION

PARTY TYPE                                                                 10-ORIGINAL APPLICANT



                                                                    Ex. 1-38
         Case 2:20-cv-11548-JVS-AGR             Document 942-1 Filed 09/04/24                            Page 40 of 57 Page
                                                     ID #:47115
NAME                                                            MGA Entertainment, Inc.

ADDRESS                                                         16380 Roscoe Boulevard
                                                                Van Nuys, CA 91406

ENTITY                                                          03-CORPORATION

CITIZENSHIP                                                     California



                                                 GOODS AND SERVICES

INTERNATIONAL CLASS                                             028

       DESCRIPTION TEXT                                         Toys and playthings, namely, toy figures and playsets, accessories, and clothing
                                                                therefor




                                      GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     028        FIRST USE DATE   09/09/2016        FIRST USE IN         10/12/2016            CLASS STATUS          6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE



                                   MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                          NO

PSEUDO MARK                                                     LIL OUTRAGEOUS LITTLES SURPRISE!



                                                PROSECUTION HISTORY

DATE                      ENT CD     ENT TYPE     DESCRIPTION                                                                          ENT NUM

08/29/2017                CNEA          F         EXAMINER'S AMENDMENT MAILED                                                              006

08/29/2017                XAEC           I        EXAMINER'S AMENDMENT ENTERED                                                             005

08/29/2017                CNEA          R         EXAMINERS AMENDMENT -WRITTEN                                                             004

08/22/2017                DOCK          D         ASSIGNED TO EXAMINER                                                                     003

05/31/2017                NWOS           I        NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                     002

05/26/2017                NWAP           I        NEW APPLICATION ENTERED IN TRAM                                                          001



                                   CURRENT CORRESPONDENCE INFORMATION

ATTORNEY                                                        NONE

CORRESPONDENCE ADDRESS                                          ELIZABETH RISHA, ESQ.
                                                                MGA ENTERTAINMENT, INC.
                                                                16380 ROSCOE BOULEVARD
                                                                VAN NUYS, CA 91406

DOMESTIC REPRESENTATIVE                                         NONE




                                                           Ex. 1-39
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 41 of 57 Page
                                  ID #:47116




                                   Ex. 1-40
        Case 2:20-cv-11548-JVS-AGR                     Document 942-1 Filed 09/04/24                         Page 42 of 57 Page
                                                            ID #:47117

                                   UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION

                                       U.S. APPLICATION
                                       SERIAL NO. 87461324

                                       MARK: L.O.L.
                                       SURPRISE!
                                                                 *87461324*
                                       CORRESPONDENT
                                       ADDRESS:                  GENERAL TRADEMARK
                                           ELIZABETH             INFORMATION:
                                       RISHA, ESQ.               http://www.uspto.gov/trademarks/index.jsp
                                           MGA
                                       ENTERTAINMENT,
                                       INC.
                                           16380 ROSCOE
                                       BOULEVARD
                                           VAN NUYS, CA
                                       91406

                                       APPLICANT: MGA
                                       Entertainment, Inc.

                                       CORRESPONDENT’S
                                       REFERENCE/DOCKET
                                       NO:
                                          TMR201700048
                                       CORRESPONDENT E-
                                       MAIL ADDRESS:




                                                    EXAMINER’S AMENDMENT

ISSUE/MAILING DATE:


DATABASE SEARCH: The trademark examining attorney has searched the USPTO’s database of registered and pending marks and has
found no conflicting marks that would bar registration under Trademark Act Section 2(d). TMEP §704.02; see 15 U.S.C. §1052(d).


APPLICATION HAS BEEN AMENDED: In accordance with the authorization granted by Elizabeth Risha on August 29, 2017, the trademark
examining attorney has amended the application as indicated below. Please advise the undersigned immediately of any objections. Otherwise,
no response is necessary. TMEP §707. Any amendments to the identification of goods may clarify or limit the goods, but may not add to or
broaden the scope of the goods. 37 C.F.R. §2.71(a); see TMEP §§1402.06 et seq.


IDENTIFICATION OF GOODS AMENDED

The identification of goods is amended to read as follows:

Class 28:      Toys and playthings, namely, toy figures and playsets, accessories, and clothing therefor

See TMEP §§1402.01, 1402.01(e).


                                             /Timothy J. Callery/
                                             Timothy J. Callery
                                             Examining Attorney
                                             Law Office 121


                                                                    Ex. 1-41
       Case 2:20-cv-11548-JVS-AGR                    Document 942-1 Filed 09/04/24                      Page 43 of 57 Page
                                                          ID #:47118

                                           (571) 270-1987
                                           tim.callery@uspto.gov


PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.


TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the Trademark Electronic Application System (TEAS) form at
http://www.uspto.gov/trademarks/teas/correspondence.jsp.




                                                                Ex. 1-42
 Case 2:20-cv-11548-JVS-AGR                    Document 942-1 Filed 09/04/24         Page 44 of 57 Page
                                                    ID #:47119



                                          NOTE TO THE FILE

SERIAL NUMBER:                87461324

DATE:                        08/29/2017

NAME:                        tcallery

NOTE:

Searched:                                     Discussed ID with:
     Google                                        Senior Atty
     Lexis/Nexis                                   Managing Atty
     OneLook
     Wikipedia
     Acronym Finder                                Protest evidence reviewed
     Other:

Checked:                                       Discussed Geo. Sig. with:
     Geographic significance                       Senior Atty
     Surname                                       Managing Atty
     Translation
     ID with ID/CLASS mailbox

   Checked list of approved Canadian attorneys and agents

Discussed file with
Attorney/Applicant via:
    X   phone                                      Left message with
        email                                      Attorney/Applicant

     Requested Law Library search             X    Issued Examiner’s Amendment
     for:                                          and entered changes in TRADEUPS

        PRINT        DO NOT PRINT                 Added design code in TRADEUPS
     Description of the mark
     Translation statement                         Re-imaged standard character
                                                   drawing
     Negative translation statement
     Consent of living individual                  Contacted TM MADRID ID/CLASS
                                                   about misclassified definite ID
     Changed TRADEUPS to:

     OTHER:




                                                            Ex. 1-43
           Case 2:20-cv-11548-JVS-AGR                         Document 942-1 Filed 09/04/24                                Page 45 of 57 Page
                                                                   ID #:47120

*** User:tcallery ***
#    Total       Dead      Live          Live     Status/    Search
     Marks      Marks      Viewed        Viewed   Search
                           Docs          Images   Duration
01   1          0          1             1        0:01       87461400[SN]
02   898        N/A        0             0        0:02       *lol*[BI,TI] not dead[ld]
03   63         0          63            63       0:02       "lol"[BI,TI] not dead[ld]
04   0          0          0             0        0:01       "l ol"[BI,TI] not dead[ld]
05   1          0          1             1        0:01       "lo l"[BI,TI] not dead[ld]
06   8          0          8             8        0:01       "l o l"[BI,TI] not dead[ld]
07   684        N/A        0             0        0:01       *la{"u"0:1}{"gp"}h*[bi,ti] not dead[ld]
08   680        N/A        0             0        0:01       *la{"u"0:1}f*[bi,ti] not dead[ld]
09   50375      N/A        0             0        0:03       *{"oa"}{"uw"}t*[bi,ti] not dead[ld]
10   5086       N/A        0             0        0:02       *l{"oa"}{"uw"}d*[bi,ti] not dead[ld]
11   251        0          251           240      0:10       *{"scz"}{"uiye"0:2}{"r"1:3}{"p"1:3}{"r"1:3}{"iye"1:3}{"sz"}*[bi,ti] not dead[ld]
12   26         0          26            26       0:01       (7 8) and 9 and 10
13   455        N/A        0             0        0:02       2 and "028"[cc]
14   414        0          414           401      0:01       13 not (3 5 6 11 12)
15   1167       N/A        0             0        0:02       (250305 dotted backgrounds)[dc] not dead[ld]
16   5747       N/A        0             0        0:02       (260115 three circles)[dc] not dead[ld]
17   2          0          2             2        0:01       2 and (15 16)
18   141        0          3             141      0:01       (7 8 9 10) and (15 16)
19   16         0          16            16       0:01       15 and 16
20   2          0          2             2        0:01       (("lol" "l o l") and "surprise")[bi,ti]
21   625        595        30            29       0:02       "mga entertainment"[on]

Session started 8/23/2017 4:28:21 PM
Session finished 8/23/2017 5:43:16 PM
Total search duration 0 minutes 39 seconds
Session duration 74 minutes 55 seconds
Defaut NEAR limit=1ADJ limit=1



Sent to TICRS as Serial Number: 87461324




                                                                             Ex. 1-44
            Case 2:20-cv-11548-JVS-AGR                             Document 942-1 Filed 09/04/24                                 Page 46 of 57 Page
                                                                        ID #:47121

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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2018)


                                     Trademark/Service Mark Application, Principal Register
                                                                       Serial Number: 87461324
                                                                       Filing Date: 05/23/2017


                                                      The table below presents the data as entered.

                                           Input Field                                                                   Entered
             SERIAL NUMBER                                                              87461324
             MARK INFORMATION
             *MARK                                                                      L.O.L. SURPRISE!
             STANDARD CHARACTERS                                                        YES
             USPTO-GENERATED IMAGE                                                      YES
             LITERAL ELEMENT                                                            L.O.L. SURPRISE!
                                                                                        The mark consists of standard characters, without claim to any
             MARK STATEMENT
                                                                                        particular font style, size, or color.
             REGISTER                                                                   Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                             MGA Entertainment, Inc.
             *STREET                                                                    16380 Roscoe Boulevard
             *CITY                                                                      Van Nuys
             *STATE
                                                                                        California
             (Required for U.S. applicants)

             *COUNTRY                                                                   United States
             *ZIP/POSTAL CODE
                                                                                        91406
             (Required for U.S. and certain international addresses)

             PHONE                                                                      818-894-2525
             FAX                                                                        818-895-0771
             EMAIL ADDRESS                                                              XXXX
             WEBSITE ADDRESS                                                            www.mgae.com
             LEGAL ENTITY INFORMATION
             TYPE                                                                       corporation
             STATE/COUNTRY OF INCORPORATION                                             California
             GOODS AND/OR SERVICES AND BASIS INFORMATION
             INTERNATIONAL CLASS                                                        028
                                                                                        TOYS AND PLAYTHINGS, NAMELY, TOY FIGURES
             *IDENTIFICATION                                                            AND PLAYSETS THEREFOR; TOY FIGURE
                                                                                        ACCESSORIES; TOY FIGURE CLOTHING
             FILING BASIS                                                               SECTION 1(a)
                  FIRST USE ANYWHERE DATE                                               At least as early as 09/09/2016


                                                                                Ex. 1-45
Case 2:20-cv-11548-JVS-AGR               Document 942-1 Filed 09/04/24               Page 47 of 57 Page
                                              ID #:47122

  FIRST USE IN COMMERCE DATE                       At least as early as 10/12/2016
                                                   \\TICRS\EXPORT17\IMAGEOUT
  SPECIMEN FILE NAME(S)
                                                   17\874\613\87461324\xml1\ APP0003.JPG
                                                   \\TICRS\EXPORT17\IMAGEOUT
                                                   17\874\613\87461324\xml1\ APP0004.JPG
                                                   \\TICRS\EXPORT17\IMAGEOUT
                                                   17\874\613\87461324\xml1\ APP0005.JPG
  SPECIMEN DESCRIPTION                             photographs of the mark applied to packaging
CORRESPONDENCE INFORMATION
NAME                                               Elizabeth Risha, Esq.
DOCKET/REFERENCE NUMBER                            TMR201700048
FIRM NAME                                          MGA Entertainment, Inc.
STREET                                             16380 Roscoe Boulevard
CITY                                               Van Nuys
STATE                                              California
COUNTRY                                            United States
ZIP/POSTAL CODE                                    91406
PHONE                                              818-894-2525
FAX                                                818-895-0771
EMAIL ADDRESS                                      tm@mgae.com
AUTHORIZED TO COMMUNICATE VIA EMAIL                No
FEE INFORMATION
APPLICATION FILING OPTION                          Regular TEAS
NUMBER OF CLASSES                                  1
APPLICATION FOR REGISTRATION PER CLASS             400
*TOTAL FEE DUE                                     400
*TOTAL FEE PAID                                    400
SIGNATURE INFORMATION
SIGNATURE                                          /BRYAN J. ARMSTRONG/
SIGNATORY'S NAME                                   Bryan J. Armstrong
SIGNATORY'S POSITION                               Trademark Administrator
SIGNATORY'S PHONE NUMBER                           818-894-2525x6730
DATE SIGNED                                        05/23/2017




                                               Ex. 1-46
            Case 2:20-cv-11548-JVS-AGR                            Document 942-1 Filed 09/04/24                                  Page 48 of 57 Page
                                                                       ID #:47123

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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2018)




                                            Trademark/Service Mark Application, Principal Register

                                                                       Serial Number: 87461324
                                                                       Filing Date: 05/23/2017
To the Commissioner for Trademarks:

MARK: L.O.L. SURPRISE! (Standard Characters, see mark)
The literal element of the mark consists of L.O.L. SURPRISE!.
The mark consists of standard characters, without claim to any particular font style, size, or color.

The applicant, MGA Entertainment, Inc., a corporation of California, having an address of
   16380 Roscoe Boulevard
   Van Nuys, California 91406
   United States
   818-894-2525(phone)
   818-895-0771(fax)
   XXXX (not authorized)

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

   International Class 028: TOYS AND PLAYTHINGS, NAMELY, TOY FIGURES AND PLAYSETS THEREFOR; TOY FIGURE
ACCESSORIES; TOY FIGURE CLOTHING

In International Class 028, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 09/09/2016, and first used in commerce at least as early as 10/12/2016, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) photographs of the mark applied to packaging.
Specimen File1
Specimen File2
Specimen File3


For informational purposes only, applicant's website address is: www.mgae.com
The applicant's current Correspondence Information:
    Elizabeth Risha, Esq.
    MGA Entertainment, Inc.
    16380 Roscoe Boulevard
    Van Nuys, California 91406
    818-894-2525(phone)
    818-895-0771(fax)
    tm@mgae.com (not authorized)
The docket/reference number is TMR201700048.
A fee payment in the amount of $400 has been submitted with the application, representing payment for 1 class(es).

                                                                               Declaration

             Basis:
             If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

                       The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
                       The mark is in use in commerce on or in connection with the goods/services in the application;
                       The specimen(s) shows the mark as used on or in connection with the goods/services in the application; and


                                                                                Ex. 1-47
        Case 2:20-cv-11548-JVS-AGR                      Document 942-1 Filed 09/04/24                         Page 49 of 57 Page
                                                             ID #:47124

              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce on or in connection with the goods/services in the
              application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /BRYAN J. ARMSTRONG/ Date: 05/23/2017
Signatory's Name: Bryan J. Armstrong
Signatory's Position: Trademark Administrator
Payment Sale Number: 87461324
Payment Accounting Date: 05/24/2017

Serial Number: 87461324
Internet Transmission Date: Tue May 23 19:19:59 EDT 2017
TEAS Stamp: USPTO/BAS-XX.XXX.X.XX-201705231919597608
25-87461324-590bc3a201a719714e4ed84ad0d9
cd331b84796d943ace44cf3399a3f0e2a632-DA-
7865-20170523184413271401




                                                                    Ex. 1-48
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 50 of 57 Page
                                  ID #:47125




                                   Ex. 1-49
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 51 of 57 Page
                                  ID #:47126




                                   Ex. 1-50
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 52 of 57 Page
                                  ID #:47127




                                   Ex. 1-51
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 53 of 57 Page
                                  ID #:47128




                                   Ex. 1-52
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 54 of 57 Page
                                  ID #:47129




                                   Ex. 1-53
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 55 of 57 Page
                                  ID #:47130




                                   Ex. 1-54
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 56 of 57 Page
                                  ID #:47131




                                   Ex. 1-55
Case 2:20-cv-11548-JVS-AGR   Document 942-1 Filed 09/04/24   Page 57 of 57 Page
                                  ID #:47132




                                   Ex. 1-56
